                Case 8:24-bk-10559-SC                   Doc 1 Filed 03/06/24 Entered 03/06/24 11:23:13                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TTW Transport, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Attn: Jonathan Witkin
                                  210 E. Lambert Road
                                  Fullerton, CA 92835
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    TTW Transport, Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4841

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    TTW Transport, Inc.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   TTW Transport, Inc.                                                          Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Fill in this information to identify the case:
Debtor name TTW Transport, Inc.
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                 Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
CMA CG (America),                                   Disputed claim            Contingent                                                                      $200,900.00
LLC                                                 incurred by               Unliquidated
1 CMA CGM Way         757.961.2100                  former employee.          Disputed
Norfolk, VA 23502
Cosco Shipping                                      Disputed claim            Contingent                                                                          $8,447.50
Lines                                               incurred by               Unliquidated
588 Harbor Scenic     201.422.0500                  former employee.          Disputed
Way
Long Beach, CA
90802
DCLI                                                Disputed claim            Contingent                                                                        $21,046.50
3525 Whitehall Park                                 incurred by               Unliquidated
Drive                 704.594.3800                  former employee.          Disputed
Charlotte, NC 28273
Evergreen Shipping                                  Disputed claim            Contingent                                                                        $22,730.00
Agency (America)                                    incurred by               Unliquidated
6021 Katella Ave.,    714.822.6800                  former employee.          Disputed
Suite 200
Cypress, CA 90630
Flexi-Van Lease, Inc.                               Disputed claim            Contingent                                                                      $141,347.25
7320 E. Butherus                                    incurred by               Unliquidated
Drive                 866.883.5394                  former employee.          Disputed
Scottsdale, AZ
85260
Hapag-Lloyd                                         Disputed claim            Contingent                                                                            $640.00
(America)                                           incurred by               Unliquidated
555 E. Ocean Blvd.    888.513.2180                  former employee.          Disputed
Long Beach, CA
90802
Meditaranean                                        Disputed claim            Contingent                                                                        $47,165.00
Shipping Company                                    incurred by               Unliquidated
(USA)                 714.708.3584                  former employee.          Disputed
555 Anton Blvd.,
Suite 1050
Costa Mesa, CA
92626



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     TTW Transport, Inc.                                                                      Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Metro Group                                         Disputed claim            Contingent                                                                        $35,100.00
Maritime                                            incurred by               Unliquidated
49 W. Mount               212.425.7774              former employee.          Disputed
Pleasant Ave.
Box 2371
Livingston, NJ
07039
Ocean Network                                       Disputed claim            Contingent                                                                        $63,060.00
Express (ONE)                                       incurred by               Unliquidated
8730 Stony Point          844.413.6029              former employee.          Disputed
Pkwy, Suite 400
Richmond, VA
23235
SeaLead                                             Disputed claim            Contingent                                                                        $10,067.00
c/o Norton Lilly                                    incurred by               Unliquidated
International             251.431.6335              former employee.          Disputed
One St. Louis
Centre #500
Mobile, AL 36602
SM Line                                             Disputed claim            Contingent                                                                        $13,100.00
585 N. Juniper Dr.,                                 incurred by               Unliquidated
Suite 250                 480.588.3200 (ext.        former employee.          Disputed
Chandler, AZ 85226        2)
Trac Intermodal, Inc.                               Disputed claim            Contingent                                                                          $6,566.00
750 College Road                                    incurred by               Unliquidated
East                      877.987.2226              former employee.          Disputed
Princeton, NJ 08540
Transfer Shipping                                   Disputed claim            Contingent                                                                        $90,225.00
c/o Norton Lilly                                    incurred by               Unliquidated
International             251.431.6335              former employee.          Disputed
One St. Louis
Centre #500
Mobile, AL 36602
Wan Hai Lines, Ltd.                                 Disputed claim            Contingent                                                                      $351,200.00
17200 N. Perimeter                                  incurred by               Unliquidated
Dr., Suite 200            602.567.9100              former employee.          Disputed
Scottsdale, AZ
85255
Yang Ming                                           Disputed claim            Contingent                                                                        $25,505.00
(America) Corp.                                     incurred by               Unliquidated
3250 Briarpark            281.295.9177              former employee.          Disputed
Drive, Suite 201
Houston, TX 77042
Zim Shipping                                        Disputed claim            Contingent                                                                          $6,960.00
Finance Ltd                                         incurred by               Unliquidated
5801 Lake Wright          866.744.7046              former employee.          Disputed
Drive
Norfolk, VA 23502




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1.   A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
     against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
     copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
     corporation of which the debtor Is a director, officer, or person in control, as follows: (Set forth the complete number
     and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
     assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
     included in Schedule A/B that was filed with any such prior proceedlng(s).)
None

2.   (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
     Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
     debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
     debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
     complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
     and court to whom assigned, whether still pending and, if not, the disposition thereof, If none, so indicate. Also, list
     any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3.   (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
     of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
     of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
     or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
     such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
     still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
     A/B that was filed with any such prior proceeding(s).)
None

4.   (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
     been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each suet, prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
     pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B




                                                                                                    Jjjj_�l---
     that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
 Executed at     -Irvine-------                            , California.

 Date:                3/6/2024                                                                       Signature of Debtor 1



                                                                                                     Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Cour1 for the Central District of California.

October 2018                                                              Pagel                F 1015-2,1,STMT.RELATED,CASES
               Case 8:24-bk-10559-SC                                        Doc 1 Filed 03/06/24 Entered 03/06/24 11:23:13                                                                    Desc
                                                                            Main Document    Page 11 of 42
 Fill in this information to identify the case:

 Debtor name            TTW Transport, Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        4,368,589.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,368,589.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,044,059.25


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,044,059.25




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 8:24-bk-10559-SC                    Doc 1 Filed 03/06/24 Entered 03/06/24 11:23:13                                          Desc
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Fill in this information to identify the case:

Debtor name         TTW Transport, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     BMO Bank                                          Business Checking                     2441                                  $385,000.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $385,000.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                          0.00     -                                     0.00 = ....                                     $0.00
                                       face amount                          doubtful or uncollectible accounts



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
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Debtor        TTW Transport, Inc.                                                        Case number (If known)
              Name



12.        Total of Part 3.                                                                                                          $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:       Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                           Net book value of      Valuation method used   Current value of
                                                                         debtor's interest      for current value       debtor's interest
                                                                         (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                   page 2
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Debtor        TTW Transport, Inc.                                                          Case number (If known)
              Name

           See attached                                                                  $0.00                                              $0.00



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

           See Attached                                                                                                          $3,983,589.00
           Nature of claim
           Amount requested                              $3,983,589.00



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                   $3,983,589.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 3
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Case 8:24-bk-10559-SC   Doc 1 Filed 03/06/24 Entered 03/06/24 11:23:13   Desc
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Debtor     TTW Transport, Inc.                                  Case number (If known)
           Name


          No
          Yes




Official Form 206A/B             Schedule A/B Assets - Real and Personal Property               page 4
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Debtor          TTW Transport, Inc.                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $385,000.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $3,983,589.00

91. Total. Add lines 80 through 90 for each column                                                         $4,368,589.00            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,368,589.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
           Case 8:24-bk-10559-SC                     Doc 1 Filed 03/06/24 Entered 03/06/24 11:23:13                                    Desc
                                                     Main Document    Page 19 of 42
Fill in this information to identify the case:

Debtor name       TTW Transport, Inc.

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
             Case 8:24-bk-10559-SC                        Doc 1 Filed 03/06/24 Entered 03/06/24 11:23:13                                                 Desc
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Fill in this information to identify the case:

Debtor name        TTW Transport, Inc.

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $200,900.00
          CMA CG (America), LLC                                                Contingent
          1 CMA CGM Way
                                                                               Unliquidated
          Norfolk, VA 23502
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number 6137                              Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,447.50
          Cosco Shipping Lines                                                 Contingent
          588 Harbor Scenic Way
                                                                               Unliquidated
          Long Beach, CA 90802
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $21,046.50
          DCLI                                                                 Contingent
          3525 Whitehall Park Drive
                                                                               Unliquidated
          Charlotte, NC 28273
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                   Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $22,730.00
          Evergreen Shipping Agency (America)                                  Contingent
          6021 Katella Ave., Suite 200
                                                                               Unliquidated
          Cypress, CA 90630
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number 8723                              Basis for the claim:

                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4
                                                                                                          37685
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Debtor      TTW Transport, Inc.                                                             Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $141,347.25
         Flexi-Van Lease, Inc.                                        Contingent
         7320 E. Butherus Drive
                                                                      Unliquidated
         Scottsdale, AZ 85260
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number 0201                      Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $640.00
         Hapag-Lloyd (America)                                        Contingent
         555 E. Ocean Blvd.
                                                                      Unliquidated
         Long Beach, CA 90802
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number 6606                      Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $0.00
         Junction Collorative Transports                              Contingent
         100 W. Victoria Street                                       Unliquidated
         Long Beach, CA 90805                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: drayage company
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $47,165.00
         Meditaranean Shipping Company (USA)                          Contingent
         555 Anton Blvd., Suite 1050
                                                                      Unliquidated
         Costa Mesa, CA 92626
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $35,100.00
         Metro Group Maritime                                         Contingent
         49 W. Mount Pleasant Ave.
                                                                      Unliquidated
         Box 2371
         Livingston, NJ 07039                                         Disputed

         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $63,060.00
         Ocean Network Express (ONE)                                  Contingent
         8730 Stony Point Pkwy, Suite 400
                                                                      Unliquidated
         Richmond, VA 23235
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $10,067.00
         SeaLead                                                      Contingent
         c/o Norton Lilly International
                                                                      Unliquidated
         One St. Louis Centre #500
         Mobile, AL 36602                                             Disputed

         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 4
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Debtor      TTW Transport, Inc.                                                             Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $13,100.00
         SM Line                                                      Contingent
         585 N. Juniper Dr., Suite 250
                                                                      Unliquidated
         Chandler, AZ 85226
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number 5334                      Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $0.00
         The Port of Long Beach                                       Contingent
         415 W. Ocean Blvd.                                           Unliquidated
         Long Beach, CA 90802                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purpose Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $0.00
         The Port of Los Angeles                                      Contingent
         425 South Palos Verdes Street                                Unliquidated
         San Pedro, CA 90731                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Notice Purpose Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $6,566.00
         Trac Intermodal, Inc.                                        Contingent
         750 College Road East
                                                                      Unliquidated
         Princeton, NJ 08540
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number 0017                      Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $90,225.00
         Transfer Shipping                                            Contingent
         c/o Norton Lilly International
                                                                      Unliquidated
         One St. Louis Centre #500
         Mobile, AL 36602                                             Disputed

         Date(s) debt was incurred                                 Basis for the claim:
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $351,200.00
         Wan Hai Lines, Ltd.                                          Contingent
         17200 N. Perimeter Dr., Suite 200
                                                                      Unliquidated
         Scottsdale, AZ 85255
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $25,505.00
         Yang Ming (America) Corp.                                    Contingent
         3250 Briarpark Drive, Suite 201
                                                                      Unliquidated
         Houston, TX 77042
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 4
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Debtor       TTW Transport, Inc.                                                                    Case number (if known)
             Name

3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,960.00
          Zim Shipping Finance Ltd                                             Contingent
          5801 Lake Wright Drive
                                                                               Unliquidated
          Norfolk, VA 23502
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number 7253                             Basis for the claim:

                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       CMA CG (America), LLC
          570 Lak Wright Drive                                                                      Line     3.1
          Norfolk, VA 23502
                                                                                                           Not listed. Explain

4.2       Leviton Law Firm, Ltd.
          Holli Guidry, Esq.                                                                        Line     3.11
          One Pierce Place, Suite 725W
                                                                                                           Not listed. Explain
          Itasca, IL 60143

4.3       Logistical Collection Services
          9310 Old Kings Rd., Ste.404                                                               Line     3.1
          Jacksonville, FL 32257
                                                                                                           Not listed. Explain

4.4       Meditaranean Shipping Company (USA)
          3445 N. Causeway Blvd., Suite 400                                                         Line     3.8
          Metairie, LA 70002
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                          0.00
5b. Total claims from Part 2                                                                           5b.    +     $                  1,044,059.25

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      1,044,059.25




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4
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Fill in this information to identify the case:

Debtor name       TTW Transport, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      TTW Transport, Inc.

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         TTW Transport, Inc.

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $15,304.74
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                 $86,205.17
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $427,383.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       TTW Transport, Inc.                                                                Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Junction Collorative Transports                      12/14/2023                       $40,113.67                Secured debt
              100 W. Victoria Street                                                                                          Unsecured loan repayments
              Long Beach, CA 90805                                                                                            Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor        TTW Transport, Inc.                                                                Case number (if known)



               Recipient's name and address           Description of the gifts or contributions                  Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      former employee, David Revolorio,               unknown                                                    between                  $3,000,000.00
      et al                                                                                                      2021-2023
      (See, Schedule A/B, Part 11,
      Question #74)


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                      value
                Address
      11.1.     Thomas J. Polis, Esq.
                Polis & Associates, APLC
                19800 MacArthur Blvd, Suite
                1000
                Irvine, CA 92612-2433                   retainer fee of $40,000 and filing fee $1,738                 2/16/2024               $41,738.00

                Email or website address
                tom@polis-law.com

                Who made the payment, if not debtor?




      11.2.     Thomas J. Polis, Esq.
                Polis & Associates, APLC
                19800 MacArthur Blvd, Suite
                1000                                    pre-bankruptcy analysis and
                Irvine, CA 92612-2433                   recommendations                                               11/2023                 $15,000.00

                Email or website address
                tom@polis-law.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.



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          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Sherman Felser                                                                                                     2006 to present
                    Fesler & Company
                    550 Parkcenter Drive, #104
                    Santa Ana, CA 92705

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Sherman Felser
                    Fesler & Company
                    550 Parkcenter Drive, #104
                    Santa Ana, CA 92705
      26c.2.        Ruben Dominguez
                    7942 4th Place
                    Downey, CA 90241

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None



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Debtor      TTW Transport, Inc.                                                                Case number (if known)



      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ruben Dominguez                        7942 4th Place                                      president                               100%
                                             Downey, CA 90241



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Guy Dominguez                          10292 Crawford Canyon Rd.                                                              4/1/2022 50% sold
                                             Santa Ana, CA 92705                                                                    to Ruben
                                                                                                                                    Dominguez

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      TTW Transport, Inc.                                                                  Case number (ii known)
                                                                                                                          ________ _ _
                                                                                                                                     _



UtfiHM Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false stalement, concealing property, or obtaining money or property by fraud in
     connection wilh a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information In this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is lrue and correct.

Executed on
                         3/6/2024

                                                                 Jonathan Witkin


Position or relationship to debtor _=..:..:
                                    D lr-=e-=c.:.to  r o f F i:..:.c
                                                  =-=---=.:..:..:.
                                                                          cn .::.
                                                                   n ac :..:..::. e__________

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
■ No
□ Yes




                                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
 Ofticial Form 207
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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              Central District of California
 In re       TTW Transport, Inc.                                                                              Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 40,000.00
             Prior to the filing of this statement I have received                                        $                 40,000.00
             Balance Due                                                                                  $                       0.00

2.    $     1,738.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Employment Application pursuant to Bankruptcy Code, Local Rules and OUST Guidelines to be filed.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

                  3/6/2024                                                    /s/ Thomas J. Polis, Esq.
     Date                                                                     Thomas J. Polis, Esq. 119326
                                                                              Signature of Attorney
                                                                              Polis & Associates, APLC
                                                                              19800 MacArthur Boulevard, Suite 1000
                                                                              Irvine, CA 92612-2433
                                                                              (949) 862-0040 Fax: (949) 862-0041
                                                                              tom@polis-law.com
                                                                              Name of law firm
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                       TTW Transport, Inc.
                       Attn: Jonathan Witkin
                       210 E. Lambert Road
                       Fullerton, CA 92835


                       Thomas J. Polis, Esq.
                       Polis & Associates, APLC
                       19800 MacArthur Boulevard, Suite 1000
                       Irvine, CA 92612-2433


                       Office of the US Trustee, Santa Ana
                       411 West Fourth St, Ste 7160
                       Santa Ana, CA 92701-8000


                       CMA CG (America), LLC
                       1 CMA CGM Way
                       Norfolk, VA 23502


                       CMA CG (America), LLC
                       570 Lak Wright Drive
                       Norfolk, VA 23502


                       Cosco Shipping Lines
                       588 Harbor Scenic Way
                       Long Beach, CA 90802


                       DCLI
                       3525 Whitehall Park Drive
                       Charlotte, NC 28273


                       Evergreen Shipping Agency (America)
                       6021 Katella Ave., Suite 200
                       Cypress, CA 90630
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                   Flexi-Van Lease, Inc.
                   7320 E. Butherus Drive
                   Scottsdale, AZ 85260


                   Hapag-Lloyd (America)
                   555 E. Ocean Blvd.
                   Long Beach, CA 90802


                   Junction Collorative Transports
                   100 W. Victoria Street
                   Long Beach, CA 90805


                   Leviton Law Firm, Ltd.
                   Holli Guidry, Esq.
                   One Pierce Place, Suite 725W
                   Itasca, IL 60143


                   Logistical Collection Services
                   9310 Old Kings Rd., Ste.404
                   Jacksonville, FL 32257


                   Meditaranean Shipping Company (USA)
                   555 Anton Blvd., Suite 1050
                   Costa Mesa, CA 92626


                   Meditaranean Shipping Company (USA)
                   3445 N. Causeway Blvd., Suite 400
                   Metairie, LA 70002


                   Metro Group Maritime
                   49 W. Mount Pleasant Ave.
                   Box 2371
                   Livingston, NJ 07039
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                   Ocean Network Express (ONE)
                   8730 Stony Point Pkwy, Suite 400
                   Richmond, VA 23235


                   SeaLead
                   c/o Norton Lilly International
                   One St. Louis Centre #500
                   Mobile, AL 36602


                   SM Line
                   585 N. Juniper Dr., Suite 250
                   Chandler, AZ 85226


                   The Port of Long Beach
                   415 W. Ocean Blvd.
                   Long Beach, CA 90802


                   The Port of Los Angeles
                   425 South Palos Verdes Street
                   San Pedro, CA 90731


                   Trac Intermodal, Inc.
                   750 College Road East
                   Princeton, NJ 08540


                   Transfer Shipping
                   c/o Norton Lilly International
                   One St. Louis Centre #500
                   Mobile, AL 36602


                   Wan Hai Lines, Ltd.
                   17200 N. Perimeter Dr., Suite 200
                   Scottsdale, AZ 85255
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                   Yang Ming (America) Corp.
                   3250 Briarpark Drive, Suite 201
                   Houston, TX 77042


                   Zim Shipping Finance Ltd
                   5801 Lake Wright Drive
                   Norfolk, VA 23502
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Thomas J. Polis, Esq. 119326
19800 MacArthur Boulevard, Suite 1000
Irvine, CA 92612-2433
(949) 862-0040 Fax: (949) 862-0041
California State Bar Number: 119326 CA
tom@polis-law.com




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          TTW Transport, Inc.                                                 ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Thomas J. Polis, Esq. 119326                                            , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
               I am the president or other officer or an authorized agent of the Debtor corporation
               I am a party to an adversary proceeding
               I am a party to a contested matter
               I am the attorney for the Debtor corporation
2.a.           The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
                class of the corporation’s(s’) equity interests:
                [For additional names, attach an addendum to this form.]
     b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.
           3/6/2024                                                                        By:    /s/ Thomas J. Polis, Esq.
Date                                                                                              Signature of Debtor, or attorney for Debtor

                                                                                           Name:        Thomas J. Polis, Esq. 119326
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




___________________________________________________________________________
                  This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
